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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
In re:                                       Chapter 11
Zohar III, Corp., et al.,1                   Bankruptcy Case No. 18-10512 (KBO)
                             Debtors.        Jointly Administered

LYNN TILTON; et al.,

                      Appellants,

               v.                            Case No. 1:22-cv-00400 (TLA)
MBIA INC., et al.,

                      Appellees.
                   ANSWERING BRIEF OF APPELLEE
             ALVAREZ & MARSAL ZOHAR MANAGEMENT LLC
 MORRIS NICHOLS ARSHT &                   QUINN EMANUEL URQUHART &
 TUNNELL LLP                              SULLIVAN, LLP
Robert J. Dehney (No. 3578)              Jonathan E. Pickhardt, Esq.
Matthew B. Harvey (No. 5186)             Deborah Newman, Esq.
Tori L. Remington (No. 6901)             Blair Adams, Esq.
1201 North Market Street, 16th Floor     Zachary Russell, Esq.
Wilmington, DE 19899-1347                51 Madison Avenue, 22nd Floor
Telephone: (302) 658-9200                New York, NY 10010
rdehney@morrisnichols.com                Telephone: (212) 849-7000
mharvey@morrisnichols.com                jonpickhardt@quinnemanuel.com
tremington@morrisnichols.com             deborahnewman@quinnemanuel.com
                                         blairadams@quinnemanuel.com
                                         zacharyrussell@quinnemanuel.com


         1
             The Debtors, and, where applicable, the last four digits of each of their
respective taxpayer identification numbers, are as follows: Zohar III, Corp. (9612),
Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
(9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119).
The Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY
10036.
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 8012 of the Federal Rules of Bankruptcy Procedure,

Appellee Alvarez & Marsal Zohar Management LLC (“AMZM”), by and through

its undersigned counsel, states as follows:

      1.     AMZM is a limited liability company organized and existing under the

laws of the state of Delaware.

      2.     AMZM is a wholly-owned subsidiary of Alvarez & Marsal Asset

Management Services, LLC, which is a wholly-owned subsidiary of Alvarez &

Marsal Holdings, LLC.

      3.     Alvarez & Marsal Holdings, LLC and Alvarez & Marsal, Inc. are the

members of Alvarez & Marsal Asset Management Services, LLC.

      4.     The following non-public corporation owns, either directly or

indirectly, 10% or more of the equity interests in Alvarez & Marsal Holdings, LLC:

Alvarez & Marsal, Inc.

      5.     No public or non-public corporation owns, directly or indirectly, 10%

or more of the equity interests in Alvarez & Marsal, Inc.



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                         PRELIMINARY STATEMENT2

      1.     The Bankruptcy Court’s dismissal of the equitable subordination claim

filed by Lynn Tilton and her affiliated entities (“Appellants”) against Alvarez &

Marsal Zohar Management LLC (“AMZM”) should be affirmed.                     The sole

remaining bases for the claim are Appellants’ assertions that three litigations

commenced by AMZM on behalf of the Debtors (collectively the “Zohar

Litigation”)—two of which were decided in AMZM’s favor, and one of which was

expressly determined not to be “immaterial, insubstantial, or frivolous”—constitute

“sham” litigation designed solely “to bleed [Ms. Tilton] dry, wrest control of the

Portfolio Companies from [Appellants], and seize valuable Portfolio Company

equity,” rather than “to vindicate the Zohar Funds’ and Portfolio Companies best

interests.” These exact same allegations formed the basis for Appellants’ breach of

contract claim against AMZM in the District Court for the Southern District of New

York (the “District Court”), where the court found that Appellants failed to plausibly

allege that the litigations were “frivolous or a ‘sham,’” and that the litigations were

commenced for the legitimate purposes of determining the “ownership of the

Portfolio Company equity and attempting to remove Tilton from her positions at the




      2
          Capitalized terms used but not defined herein shall have the meanings
ascribed to them below or in the Opening Brief of Appellants [D.I. 30] (“Appellants’
Brief”), as applicable.

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Portfolio Companies.” A153-54 (SDNY Decision at 36-37). 3 The Bankruptcy

Court correctly held that the District Court’s ruling—which addressed allegations

identical to those at issue before the Bankruptcy Court—collaterally estopped

Appellants from relitigating their “sham” litigation, “steal the equity” allegations,

and necessitated dismissal of Appellants’ claim against AMZM.

      2.     Appellants now appeal the Bankruptcy Court’s Memorandum Opinion

and Order on Defendants Motions to Dismiss the Amended Complaint of Lynn Tilton

and The Patriarch & Octaluna Entities for Equitable Subordination (the “Order”),

arguing that collateral estoppel does not apply because (i) the District Court was

deciding a breach of contract claim and the Bankruptcy Court was deciding a claim

for equitable subordination, and (ii) the District Court “did not address, much less

determine, the Amended Complaint’s allegations that AMZM’s purposes in

pursuing its litigation campaign against Patriarch were illegitimate” and “solely

designed to harass and harm Plaintiffs.” Each of these arguments fails.

      3.     First, as made clear by the Third Circuit’s decision in In re Docteroff,

133 F.3d 210, 214 (3d Cir. 1997) and the primary case cited by Appellants, In re

Astroline, 226 B.R. 324 (Bankr. D. Conn. 1998), collateral estoppel precludes a party

from relitigating the same factual issues, regardless of whether the remedy sought or



      3
         Citations to the form “A___” are to the Joint Appendix of Documents
Referenced in Defendants-Appellees’ Answering Briefs filed concurrently herewith.

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underlying legal theory in the two actions is the same. Second, Appellants’ assertion

that the District Court did not address Appellants’ allegations regarding AMZM’s

motivation is simply wrong, as the District Court expressly found that AMZM

commenced the Zohar Fund litigation against Appellants to determine the

“ownership of the Portfolio Company equity and attempt[] to remove Tilton from

her positions at the Portfolio Companies.” A153-54 (SDNY Decision at 36-37). The

Bankruptcy Court also made its own, independent determination that the District

Court’s decision that the litigations were not “frivolous or a ‘sham’” necessitated

dismissal of Appellants’ claim, ruling that “as a general matter, the pursuit of one’s

legal rights, including the exercise of contractual rights, may not be grounds for

equitable subordination.” (A113 (Order at 36)). Each case cited by Appellants for

the contrary position is inapposite, and was addressed and distinguished by the

Bankruptcy Court as such. Thus, there is no basis for reversal of the Bankruptcy

Court’s collateral estoppel decision, which should be affirmed in all respects.

      4.     Moreover, the Bankruptcy Court’s decision necessitates dismissal of

Appellants’ claim against AMZM irrespective of the outcome of this appeal. The

Bankruptcy Court issued several additional holdings that Appellants did not appeal,

which provide an alternative and independent basis for dismissal. Specifically, the

Bankruptcy Court held that (i) Appellants do not have standing to assert claims

predicated on a reduction in the Zohar Funds’ value, and (ii) allegations of



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“reputational harm, litigation costs, and harm to Ms. Tilton’s control rights and debt

and equity positions in the Portfolio Companies are not sufficient to justify equitable

subordination.”   A115-16 (Order at 38-39, n.284).         Appellants’ claim against

AMZM is based solely on such alleged harms. As such, the Bankruptcy Court’s

decision must stand for this reason as well.

                   LIMITED STATEMENT OF THE CASE4

I.    AMZM REPLACES APPELLANTS AS COLLATERAL MANAGER
      FOR THE ZOHAR FUNDS

      5.     The Debtors (the “Zohar Funds”) are investment funds that raised

money from investors and used that money to buy loan obligations issued by

distressed companies (the “Portfolio Companies”). A004 (Compl. ¶ 2).

      6.     From the Debtors’ origination through 2016, companies affiliated with

Tilton (collectively, the “Patriarch Managers” or “Patriarch”) served as the Debtors’

collateral managers, and were responsible for the purchase, origination, and

management of the loans and investments made and held by the Debtors in the

Portfolio Companies. A081 (Order at 4).

      7.     On February 3, 2016, Ms. Tilton tendered the voluntary resignations of

the Patriarch Managers as collective collateral manager for the Debtors and in March



      4
            AMZM joins and incorporates by reference the Answering Brief of
Appellees MBIA Inc. and MBIA Insurance Corporation and the Answering Brief of
Appellee Zohar III Controlling Class.

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2016, the Debtors, acting at the direction of their senior noteholders, retained

AMZM as successor collateral manager. A015 (Compl. ¶ 46).

II.   AMZM BRINGS              MERITORIOUS          LITIGATION         AGAINST
      APPELLANTS

      8.    Following its appointment as collateral manager, AMZM caused the

Debtors to commence the Zohar Litigation, which consists of (i) the “Books and

Records Action” (Zohar CDO 2003-1, LLC v. Patriarch Partners, LLC, C.A. No.

12247-VCS (Del. Ch.)); (ii) the “Delaware 225 Action” (Zohar II 2005-1, Ltd. v.

FSAR Holdings, Inc., C.A. No. 12946-VCS (Del. Ch.)); and (iii) the “SDNY Action”

(Zohar CDO 2003-1, Ltd. v. Patriarch Partners, LLC, No. 17-cv-00307-WHP

(S.D.N.Y.)), and to take certain other actions to remove and replace Ms. Tilton as

manager or director at certain Portfolio Companies. See, e.g., A005-006 (Compl. ¶¶

4, 6); A052 (id. ¶¶ 170-71); A056 (id. ¶¶ 180-81); A061-62 (id. ¶¶ 193-96). These

actions, which form the basis for Appellants’ equitable subordination claim against

AMZM, are summarized below.

      A.    The Books and Records Action

      9.    AMZM brought the Books and Records Action against the Patriarch

Managers because the Patriarch Managers violated their contractual obligation owed

to the Debtors to turn over the Debtors’ books and records to AMZM. See A1199-

1202 (Zohar CDO 2003-1 v. Patriarch Partners, LLC, C.A. No. 12247-VCS, 2016

WL 6248461 (Del. Ch. Oct. 26, 2016) (the “Books & Records Decision”), at 16-19.


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In particular, the Patriarch Managers failed to turn over twelve categories of

documents specifically requested by AMZM. A1219-34 (Id. 36 -51). The court

ruled in AMZM’s and the Debtors’ favor with respect to all twelve categories of

documents. Id.

      10.    One of the categories of documents that the Patriarch Managers were

ordered to turn over were “Equity Documents” related to a type of equity interest

dubbed “equity upside interests” that the Patriarch Managers were “adamant” were

not owned by the Debtors. A1222 (id. at 39). The court ultimately declined to

resolve the question of who owned these so-called “equity upside interests,” finding

instead that even if the “equity upside interests” were not owned by the Debtors, at

the very least they “related to the [Zohar Funds’] [c]ollateral,” and thus Equity

Documents relating to the “equity upside interests” should be provided to the

Debtors. A1222-23 (id. at 39-40). The court observed, however, that “Patriarch’s

attempt at trial to explain or describe equity upside interests was, at best, confusing

and, at worst, codswallop.” A1222 (id. at 39, n.128). The Chancery Court’s decision

was affirmed in full by the Delaware Court of Appeals. See Patriarch Partners LLC

v. Zohar CDO 2003-1, LLC, 165 A.3d 288 (Del. 2017).

      B.     The Delaware 225 Action

      11.    On November 23, 2016, AMZM executed written consents (the

“Consents”) pursuant to its authority under § 2.2(c) of the AMZM Collateral



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Management Agreements (the “CMAs”) that removed Ms. Tilton from the boards

of three Portfolio Companies and elected new directors in her place. A054 (Compl.

¶¶ 175-76; A1076 (Zohar I CMA § 2.2); A1107 (Zohar II CMA § 2.2); A1137

(Zohar III CMA § 2.2).

      12.    On November 29, 2016, with the benefit of the documents they received

pursuant to the Books and Records Decision, and in light of the fact that the Books

and Records Decision did not resolve the issue of who owned the equity interests,

Zohar II and Zohar III, acting by and through AMZM, initiated the Delaware 225

Action—an expedited special proceeding under Section 225 of the Delaware

General Corporations Law—seeking a determination that the Debtors, and not Ms.

Tilton, own the equity in three Portfolio Companies and have the power to name

those companies’ directors. In re Zohar III, Corp., 2019 WL 6910285, at *2 (D. Del.

Dec. 19, 2019). The Debtors were listed as the owners on stock certificates for those

three companies, but Ms. Tilton claimed that she was the true owner of the

companies’ stock or, alternatively, that certain purportedly “irrevocable” proxies

that Ms. Tilton granted herself before the Patriarch Managers stepped down as

collective collateral manager of the Debtors prevented the Debtors from appointing

new directors. See A1241-43 (Zohar II 2005-1, Ltd. v. FSAR Holdings, Inc., C.A.

No. 12946-VCS, 2017 WL 5956877 (Del. Ch. Nov. 30, 2017) (the “Delaware 225

Decision”)) at 5-7.



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      13.    Following a six-day trial, the Chancery Court issued a 96-page decision

answering the question it had declined to reach in the Books and Records Action,

finding that “the Zohar Funds are the beneficial owners of the Portfolio Companies’

equity,” and that the “irrevocable” proxies were invalid because, among other

reasons, they violated the Zohar Indentures. A1243 (id. at 7). Based on these rulings,

the court found that “[t]he Zohar Funds’ designees are the rightful directors of the

Portfolio Companies” and that the written consents were valid and effective. A1243,

A1331 (id. at 7, 95). AMZM subsequently issued additional written consents

concerning other Portfolio Companies. A062 (Compl. ¶ 195).

      14.    Ms. Tilton appealed the Delaware 225 Decision, but the appeal was

dismissed with prejudice as moot after Tilton agreed to withdraw her objections to

the written consents and the Debtors’ claim of beneficial ownership of the equity

interest in the Portfolio Companies. A099 (Order at 22).

      C.     The SDNY Action

      15.    On January 16, 2017, the Debtors, acting by and through AMZM,

initiated an action in the District Court for the Southern District of New York against

Appellants and certain other Tilton-affiliated companies for violation of 18 U.S.C.

§ 1961, known as the Racketeer Influenced and Corrupt Organizations Act (“RICO”),

and related state law claims. A084 (Order at 7).




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      16.    On November 27, 2017, Appellants filed a third-party complaint

against AMZM and others in the SDNY Action, alleging, among other things, claims

for breach of contract, breach of fiduciary duty, aiding and abetting breach of

fiduciary duty, and breach of the implied covenant of good faith and fair dealing.

See A1486-515 (Zohar CDO 2003-1, Ltd. v. Patriarch Partners, LLC, 1:17-cv-

00307-PKC-RWL, [D.I. 88] (S.D.N.Y. Nov. 27, 2017)) (the “Third-Party

Complaint”) at 146-75. Appellants alleged in the Third-Party Complaint that

AMZM breached its contractual and fiduciary duties by (i) commencing the Zohar

Litigation, which Appellants characterized as “sham litigations,” and (ii) failing to

issue trustee reports. A1466-67, 1470-73, 1480 (Third-Party Compl. ¶¶ 125-129,

136-142, 161-162). These same allegations form the basis for Appellants’ equitable

subordination claim against AMZM in the Bankruptcy Court. See, e.g., A056, A062

(Compl. ¶¶ 180, 196).

      17.    On December 29, 2017, the late Honorable William H. Pauley III in the

Southern District of New York dismissed the Debtors’ RICO claim pursuant to

Section 107 of the Private Securities Litigation Reform Act, 18 U.S.C. § 1964(c)

(the “RICO Amendment”), which bars any RICO claim predicated on the purchase

or sale of securities. See A1519 (Zohar CDO 2003-1, Ltd. v. Patriarch Partners,




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LLC, 286 F. Supp. 3d 634, 651 (S.D.N.Y. 2017) (the “RICO Decision”)) at 651.5

However, Judge Pauley explained in the RICO Decision that the RICO claim was

“neither ‘immaterial’ nor ‘wholly insubstantial and frivolous,’” A1537 (id. at 652,

n.9), and instead found that “the Complaint specifically and thoroughly alleges a

number of predicate acts to support Zohar’s theory of liability under RICO,” and

that dismissal of the claims under the RICO Amendment “does not render the claim

immaterial, insubstantial, or frivolous.” Id.

      18.    On September 29, 2021, the Honorable P. Kevin Castel in the Southern

District of New York dismissed all of Appellants’ claims against AMZM in the

Third-Party Complaint with prejudice. See A159-60 (Zohar CDO 2003-1, Ltd. v.

Patriarch Partners, LLC, (S.D.N.Y. Sept. 29, 2021), amended, 2021 WL 4710787

(S.D.N.Y. Oct. 7, 2021) (the “SDNY Decision”)). Judge Castel held that AMZM

did not have any obligation to issue trustee reports, and that Appellants did not

“plausibly” allege that any of the actions constituting the Zohar Litigation were

frivolous or sham lawsuits. A153-54 (id. at 36-37). In rejecting Appellants’ “sham

litigation” allegations, Judge Castel stated:

      First, the AMZM and the Zohar Funds were successful in both the
      books and records suit and the Delaware 225 action. A party
      successfully vindicating its rights can hardly be considered frivolous or

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          As the dismissed RICO claim provided the basis for federal subject matter
jurisdiction, the court proceeded to dismiss the remaining state law causes of action
for lack of subject matter jurisdiction. Id.

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       a “sham.” Finally the Patriarch Parties allege that the instant litigation
       [the RICO Action] is a “sham.” But even though the underlying claims
       were dismissed, this Court specifically noted that “though this Court
       has concluded that some of those predicate acts run afoul of the RICO
       Amendment, such a determination does not render the claim immaterial,
       insubstantial, or frivolous.” Indeed, most of the claims in the instant
       litigation were dismissed due to lack of subject matter jurisdiction, not
       on the merits. While the Patriarch Parties repeatedly label these as
       “sham” litigations, “[a] pleading that offers mere labels and
       conclusions . . . will not do.”

A153 (id. at 36). Judge Castel stated further that “AMZM’s alleged ‘participation’

in MBIA’s ‘scheme’ amounts to no more than AMZM pursuing litigation with the

Patriarch Parties over the ownership of the Portfolio Company equity and attempting

to remove Tilton from her positions at the Portfolio Companies.” Id.

       19.   Appellants were granted permission to amend the Third-Party

Complaint but did not do so.

III.   APPELLANTS FILE AN EQUITABLE SUBORDINATION CLAIM
       AGAINST AMZM BASED PRIMARILY ON THE ZOHAR
       LITIGATION

       20.   On October 1, 2019—after Appellants filed the Third-Party Complaint

in the SDNY Action but prior to the issuance of the SDNY Decision—Appellants

filed their complaint (as amended, the “Complaint”), in the case below (the

“Bankruptcy Court Action”), seeking, among other things, equitable subordination

of AMZM’s secured claim against the Debtors’ estates. Appellants’ equitable

subordination claim against AMZM was based on the same allegations underlying




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Appellants’ claims in the Third-Party Complaint—the Zohar Litigation and the

alleged failure to issue trustee reports.6

      21.    With respect to the Zohar Litigation, Appellants alleged that it

constituted “a campaign of sham and frivolous litigation against Ms. Tilton” that

“served no legitimate purpose.” A006, A051 (Compl. ¶¶ 6, 169). As for damages,

Appellants alleged that the Zohar Litigation “triply damaged Ms. Tilton and the

other Plaintiffs” because it “decreased the value of the Portfolio Companies, which

decreased the value of the Zohar Funds’ preference shares owned by Plaintiffs,”

required the Zohar Funds to pay legal fees that “depleted the funds available to pay

Plaintiffs as noteholders and any potential payout to Plaintiffs at the end of the

waterfall,” and caused Appellants to incur legal fees and expenses in defending

against the litigation. A059 (Compl. ¶ 187).

IV.   THE BANKRUPTCY COURT DISMISSES APPELLANTS’ CLAIMS
      WITH PREJUDICE

      22.    AMZM and the other Defendants filed motions to dismiss the

Complaint on October 30, 2020. On March 25, 2022, the Bankruptcy Court granted

those motions in full, with prejudice. See A078 (Order at 1). With respect to


      6
           Appellants have since conceded that the alleged failure to issue trustee
reports is not an independent basis for equitable subordination against AMZM.
A101 (Order at 24, n.194); Appellants’ Opposition to Motions to Dismiss, Case No.
19-ap-50390 [D.I. 103] (the “Opposition”) ¶ 70 (“AMZM’s failure to prepare trustee
reports—one of the primary roles of Collateral Manager—is not an independent
basis for equitable subordination.”).

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Appellants’ claim against AMZM, the Bankruptcy Court held that Appellants were

“collaterally estopped from pursuing an equitable subordination claim on the basis

of” the Zohar Litigation because the SDNY Decision “thoroughly considered and

rejected the [Appellants’] contentions that . . . the B&R Action, 225 Action, and the

RICO Action were sham litigations pursued for the purpose of removing Ms. Tilton

from the Portfolio Companies and stealing her equity.” A097-100.7 The Bankruptcy

Court squarely considered and rejected Appellants’ argument that the SDNY

Decision should not have preclusive effect because it did not address AMZM’s

motivations in bringing the Zohar Litigation:

      Plaintiffs argue that Judge Castel did not determine the fundamental
      motivations of AMZM—only that there were nonfrivolous legal
      grounds for AMZM’s litigation. Judge Castel determined the issue that
      this Court would be tasked with deciding here if the proceeding were
      to continue—namely, whether the litigation pursued by AMZM was a
      sham; in other words, whether it was brought for a legitimate purpose
      or to abuse or for some other improper purpose. Faced with Plaintiffs’

      7
          The Bankruptcy Court also held that (i) the SDNY Decision collaterally
estopped Appellants from arguing that AMZM was responsible for providing trustee
reports, (ii) the written consents issued by AMZM could not form the basis of an
equitable subordination claim because they were determined to be valid by the 225
Decision, and (iii) Appellants’ vague claims that AMZM lacked qualifications
necessary to be a collateral manager failed to support their claim given that such
allegations “cannot alone justify the extreme remedy of subordination,” and
“AMZM did not control its own appointment.” A100-101 (Order at 23, 24).
Appellants did not appeal, and have thus waived any appeal of, these holdings. Kool,
Mann, Coffee & Co. v. Coffey, 300 F.3d 340, 354 (3d Cir. 2002) (“When an issue is
either not set forth in the statement of issues presented or not pursued in the argument
section of the brief, the appellant has abandoned and waived that issue on appeal.”)
(quoting Nagle v. Alspach, 8 F.3d 141, 143 (3d Cir. 1993)).

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      same arguments regarding the Defendants’ motivations, His Honor
      answered that question based on the objective merits of the litigations
      and determined that nothing was a sham. Opinion and Order, at *18;
      see also Zohar CDO 2003-1 Ltd. v. Patriarch Partners, LLC, 620 B.R.
      456, 464 (S.D.N.Y. 2020) (denying Zohar Funds’ request to transfer
      venue of SDNY Action to this Court and noting that “paragraphs in the
      Subordination Complaint are grafted verbatim from the Patriarch
      Complaint. . . . [T]he “steal the equity” themes that pervade the
      Patriarch Complaint are infused in the Subordination Complaint.”).

Id. (Order at 23, n.190) (original modification).

      23.    The Bankruptcy Court noted further that given the “objective realities

(including the parties’ contractual rights and successful litigation of those rights),”

the likelihood that AMZM and other Defendants engaged in a “scheme” to “take and

sell Ms. Tilton’s equity for their benefit and to harm her . . . is dubious” and

insufficiently pled by the Complaint. A112-13 (Order at 35-36). The Bankruptcy

Court continued that “the real issue is whether Defendants did anything wrong in

pursuit of their [alleged litigation] ‘scheme’ for which they can be held liable.” Id.

The Bankruptcy Court answered that question in the negative, holding that “as a

general matter, the pursuit of one’s legal rights, including the exercise of contractual

rights, may not be grounds for equitable subordination . . . ,” and distinguishing

Appellants’ cases as involving inapposite scenarios where creditors engaged in

inequitable conduct. A113-14 (id. at 36-37). The Bankruptcy Court concluded that

“Defendants should not be punished for ensuring that the contractual rights and

remedies of the Zohar Funds and themselves were enforced.” A116 (id. at 39, n.284).



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       24.   The Bankruptcy Court also held that Appellants’ claims suffer from

additional fatal infirmities, including that (i) arguments predicated on a reduction in

the value of the Zohar Funds are estate causes of action that Appellants do not have

standing to raise; (ii) “reputational harm, litigation costs, and harm to Ms. Tilton’s

control rights and debt and equity positions in the Portfolio Companies” are not

related to Appellants’ positions as creditors of the Debtors and thus cannot justify

equitable subordination; and (iii) Defendants’ “efforts to secure the Zohar Funds’

ownership and control rights proved successful and served to gather and preserve”

the Zohar Funds’ assets for the benefit of all creditors. Id.

       25.   Finally, the Bankruptcy Court denied Appellants’ request for leave to

further amend the Complaint, noting that “[s]ignificant time, effort, and resources of

not only the Defendants but of numerous courts have been expended on Plaintiffs’

allegations that have been rehashed over and over,” and that any amendment would

be “futile and potentially abusive to the Defendants and this Court.” A117 (id. at

40).

V.     APPELLANTS APPEAL PORTIONS OF THE BANKRUPTCY
       COURT’S DISMISSAL ORDER

       26.   Appellants appealed the Order on March 29, 2022. See Notice of

Appeal, Case No. 19-ap-50390 [D.I. 237]. As applicable to AMZM, the issues

presented in the appeal are whether the Bankruptcy Court erred in holding that, with

respect to the Zohar Litigation, (i) the “doctrine of collateral estoppel barred the


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Amended Complaint’s allegations that Appellees behaved inequitably,” and (ii)

“Appellants failed to sufficiently allege that Appellees acted with an improper

purpose that amounted to inequitable conduct justifying subordination.” App. Br. at

6. As discussed in greater detail below, neither of these holdings is in error.

Additionally, dismissal of Appellants’ claim against AMZM still would be required

even if these holdings were reversed, based on the Bankruptcy Court’s additional

and independent holding—which Appellants have not appealed—that Appellants

may not pursue claims based on a reduction in the value of the Zohar Funds,

reputational harm, litigation costs, or harm to Ms. Tilton’s control rights or debt and

equity positions in the Portfolio Companies.8

                                   ARGUMENT

I.    THE BANKRUPTCY COURT CORRECTLY HELD THAT
      COLLATERAL ESTOPPEL BARS APPELLANTS’ “LITIGATION
      CAMPAIGN” THEORY OF EQUITABLE SUBORDINATION

      27.    “Collateral estoppel prohibits the relitigation of issues that have been

adjudicated in a prior lawsuit.” In re Docteroff, 133 F.3d at 214; see also Jean

Alexander Cosmetics, Inc. v. L’Oreal USA, Inc., 458 F.3d 244, 249 (3d Cir. 2006).



      8
         As AMZM argued below, dismissal of Appellants’ equitable subordination
claim against AMZM is also necessitated by the Noerr-Pennington doctrine. See
AMZM’s Memorandum in Support of Motion to Dismiss, Case No. 19-ap-50390 [D.I.
82] (the “Motion”) at 14-17; AMZM’s Reply in Support of Motion, Case No. 19-ap-
50390 [D.I. 113] at 3-6. Given its holding that the claim is subject to dismissal on
other grounds, the Bankruptcy Court did not reach this argument.

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In the Third Circuit, a party is collaterally estopped from relitigating an issue where:

(i) the issue sought to be precluded is the same as the one involved in the prior action;

(ii) the issue was actually litigated; (iii) the issue was determined by a valid and final

judgment; and (iv) the determination was essential to the prior judgment. Docteroff,

133 F.3d at 214.

      28.    Appellants argue that the Bankruptcy Court erred in applying collateral

estoppel to bar their equitable subordination claim against AMZM on two bases: (i)

they argue that the issue decided in the SDNY Action is not the same as the issue

presented to the Bankruptcy Court, because “the standards governing Patriarch’s

breach of contract claims against AMZM in the SDNY Action were narrower than

those applicable in this equitable subordination proceeding,” and (ii) they argue that

Judge Castel’s determinations regarding Appellants’ “sham” litigation, “steal the

equity” allegations were not “essential to” the SDNY Decision, because Judge Castel

did not “address, much less determine, the Amended Complaint’s allegations that

AMZM’s purposes in pursuing its litigation campaign against Patriarch were

illegitimate” and “solely designed to harass and harm Plaintiffs.” App. Br. at 43-45.

Neither of these arguments has merit.

      29.    First, the factual issues that the Bankruptcy Court would have had to

determine to resolve Appellants’ equitable subordination claim against AMZM are

exactly the same as the factual determinations that Judge Castel made in the SDNY



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Action. In the SDNY Action, Appellants alleged that AMZM breached its duties

under the governing collateral management agreement “by aiding MBIA, including

through prosecuting various ‘sham’ litigations, attempting to remove Tilton from her

positions at the Portfolio Companies, and participating in MBIA’s ‘scheme’ to steal

the Portfolio Companies’ equity for itself.”      A152 (SDNY Decision at 35).

Appellants’ equitable subordination claim against AMZM is based on identical

allegations, alleging that AMZM engaged in a “campaign of sham and frivolous

litigation” designed to “bleed [Ms. Tilton] dry, wrest control of the Portfolio

Companies from Plaintiffs, and seize the valuable Portfolio Company equity.” A006,

A051 (Compl. ¶¶ 6, 169).

      30.   Judge Castel determined that these allegations did “not plausibly

allege[] that the litigations brought on behalf of the Zohar Funds [i.e., the Zohar

Litigation] are ‘sham’ litigations.” A153 (SDNY Decision at 36). Additionally,

Judge Castel found that “AMZM’s alleged ‘participation’ in MBIA’s ‘scheme’

amounts to no more than AMZM pursuing litigation with the Patriarch Parties over

the ownership of the Portfolio Company equity and attempting to remove Tilton

from her positions at the Portfolio Companies.” A153-54 (id. at 36-37) (cleaned up).

Thus, Judge Castel held that Appellants had not adequately alleged that the Zohar

Litigation was brought to “steal the Portfolio Companies’ equity,” finding instead

that they were legitimately commenced to determine the owners of, and remove Ms.



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Tilton from her control positions at, the Portfolio Companies. A152-53 (id. at 35-

36).

       31.   As the Bankruptcy Court correctly observed, in so holding, Judge

Castel:

       determined the issue that this Court would be tasked with deciding here
       if the proceeding were to continue—namely, whether the litigation
       pursued by AMZM was a sham; in other words, whether it was brought
       for a legitimate purpose or to abuse or for some other improper purpose.
       Faced with Plaintiffs’ same arguments regarding the Defendants’
       motivations, His Honor answered that question based on the objective
       merits of the litigations and determined that nothing was a sham.
       Opinion and Order, at *18; see also Zohar CDO 2003-1 Ltd. v.
       Patriarch Partners, LLC, 620 B.R. 456, 464 (S.D.N.Y. 2020) (denying
       Zohar Funds’ request to transfer venue of SDNY Action to this Court
       and noting that “paragraphs in the Subordination Complaint are grafted
       verbatim from the Patriarch Complaint. . . . [T]he “steal the equity”
       themes that pervade the Patriarch Complaint are infused in the
       Subordination Complaint.”).

A100 (Order at 23, n.190). The Bankruptcy Court thus correctly held that Appellants

are collaterally estopped from relitigating the factual question of whether the Zohar

Litigation comprised “sham” litigations commenced for improper purposes.

       32.   The Third Circuit’s ruling in Docteroff underscores the weakness of

Appellants’ assertion that collateral estoppel does not apply because Judge Castel

determined whether Appellants stated a claim for breach of contract and the

Bankruptcy Court was determining whether Appellants stated a claim for equitable

subordination. In Docteroff, the lower courts held that a prior default judgment

holding the debtor liable for fraud and embezzlement in connection with plaintiffs’


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debt collaterally estopped the debtor from arguing that the debt was not subject to

the exception to discharge for debt incurred by fraud. 133 F.3d at 214-16. The

debtor appealed, arguing that the decision was in error because “the dischargeability

issue is not the same issue as the one previously litigated and, thus, could not have

been essential to the earlier judgment.” Id. at 214-15. The Third Circuit affirmed

the ruling, explaining that “[t]aking [the debtor’s] argument to its logical conclusion,

collateral estoppel would never apply in bankruptcy because the precise bankruptcy

issue would never have been litigated in a court action prior to the filing of the

petition in bankruptcy.” Id. at 215. Such a conclusion, the court held, “defies

common sense and reason and is at odds with” Supreme Court precedent. Id.

      33.    Here, Appellants, like the debtor in Docteroff, argue that they should

be permitted to relitigate the exact same factual issue already decided by a prior court,

because the legal issue to which that factual determination was relevant was not the

same in the two actions. As the Third Circuit has made clear, there is “no merit” to

such an argument. Id. at 215.

      34.    Appellants’ reliance on In re Astroline is misplaced. App. Br. at 42.

The court in Astroline held that a prior ruling that the defendant’s exercise of control

over the debtor was insufficient for the defendant to be deemed a general partner

under Massachusetts law did not collaterally estop a chapter 7 trustee from arguing

that the debtor was an insider for equitable subordination purposes, because



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“[g]eneral partners are but one subset of those who could be considered ‘insiders,’”

and “the broader issue of whether the Defendant was an insider was not litigated in

the prior proceeding.” 226 B.R. at 327-28. Accordingly, while the question of

whether the defendant was a general partner of the debtor was “precluded from

relitigation under the criteria for collateral estoppel,” the question of whether there

were other bases for the defendant to be deemed an insider was not. Id. at 328.

      35.    Astroline thus supports, rather than conflicts with, the Bankruptcy

Court’s holding. Just as the trustee in Astroline was collaterally estopped from

relitigating the defendant’s general partner status, Appellants are collaterally

estopped from relitigating whether the Zohar Litigation was a “sham” commenced

for an improper purpose.      And unlike Astroline, where there were additional

potential bases for the trustee’s insider allegation, the sole bases for Appellants’

equitable subordination claim against AMZM here are their “sham litigation,” “steal

the equity” allegations.9 Without these allegations, the claim necessarily fails, and

must be dismissed.

      36.    Indeed, the Shore Road holding discussed in Astroline is squarely on

point here. Id. at 328 (citing In re 9281 Shore Road Corp., 214 B.R. 676 (Bankr.



      9
          As noted, the Bankruptcy Court found that Appellants’ additional
allegations were insufficient to state a claim for equitable subordination, and
Appellants did not appeal, and have therefore waived, that ruling. United States v.
Hoffecker, 530 F.3d 137, 162 (3d Cir. 2008); Coffey, 300 F.3d at 354.

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E.D.N.Y. 1997)). In Shore Road, the debtor asserted as an affirmative defense in a

prior mortgage foreclosure proceeding that the plaintiff lender had engaged in fraud.

Shore Road, 214 B.R. at 682. The state court presiding over the foreclosure action

granted summary judgment in the lender’s favor, concluding that the debtor “failed

to demonstrate any fraudulent activity” by the lender. Id. The debtor subsequently

filed an action against the lender in bankruptcy court, seeking, among other things,

equitable subordination of the lenders’ claims based on allegations of the same

fraudulent activity that the state court had rejected. The bankruptcy court dismissed

the equitable subordination claim as barred by collateral estoppel, stating:

      the instant case . . . is premised upon the identical factual allegations
      raised by the Debtor in the foreclosure action. Furthermore, in both
      actions the Debtor claimed that Seminole engaged in fraudulent
      conduct. Yet, the Debtor seeks to relitigate this claim in the Bankruptcy
      Court under a different legal theory and remedy—equitable
      subordination. However, . . . where the same allegations of misconduct
      were raised in the first action and decided against a debtor, the same
      factual allegations cannot be used in a subsequent proceeding in
      Bankruptcy Court to subordinate the creditor’s claim.

Id. at 690.

      37.     Here, as in Shore Road, Appellants seek to subordinate AMZM’s claim

based on “identical factual allegations” raised and rejected in the SDNY Action. Id.

As the Shore Road holding makes clear, since these issues have already been

“addressed and determined” by Judge Castel, “collateral estoppel precludes

relitigating” them before the Bankruptcy Court. Id. at 691.



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      38.    Appellants’ second argument—that Judge Castel “did not address,

much less determine, the Amended Complaint’s allegations that AMZM’s purposes

in pursuing its litigation campaign against Patriarch were illegitimate” and “solely

designed to harass and harm Plaintiffs”—fares no better. App. Br. at 44-45. As

noted, Judge Castel did address these allegations, finding that the Third-Party

Complaint failed to support them, and showed instead that the Zohar Litigation was

designed to determine “the ownership of the Portfolio Company equity and attempt[]

to remove Tilton from her positions at the Portfolio Companies.” A153-54 (SDNY

Decision at 36-37).

      39.    Moreover, the Bankruptcy Court made its own determination that

Appellants’ equitable subordination claim against AMZM cannot stand given Judge

Castel’s ruling that the Zohar Litigation was not frivolous or a sham. Specifically,

the Bankruptcy Court held that “as a general matter, the pursuit of one’s legal rights,

including the exercise of contractual rights, may not be grounds for equitable

subordination . . .” A113 (Order at 36). The Bankruptcy Court addressed the exact

cases Appellants rely on for their assertion to the contrary, finding that those cases

“present facts distinct from those here” because the creditor defendants “exceeded

[their] authority under the loan agreement or . . . acted inequitably in exercising [their]




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rights under the agreement.” App. Br. at 44, A113-14 (Order at 36-37).10 The

Bankruptcy Court thus appropriately concluded that it would “not punish [AMZM,

MBIA and the Zohar III Controlling Class] with the extreme and harsh remedy of

subordination for electing not to” “abandon their rights and claims to control the

Zohar Funds and the Portfolio Companies.” A115 (Order at 38). There is no basis

for this holding to be reversed.

II.   THE BANKRUPTCY COURT’S DECISION REQUIRES DISMISSAL
      OF THE CLAIM AGAINST AMZM IRRESPECTIVE OF THE
      OUTCOME OF THIS APPEAL

      40.    Even if the Bankruptcy Court erred in giving preclusive effect to the

SDNY Decision (it did not), the Bankruptcy Court’s dismissal of Appellants’ claim

against AMZM must be affirmed based on independent holdings that Appellants

have not appealed. United States v. Shakir, 616 F.3d 315, 319 n.1 (3d Cir. 2010)



      10
           Specifically, the Bankruptcy Court noted that (i) the creditor in Citicorp
Venture Capital. Ltd. v. Comm. Of Unsecured Creditors Holding Unsecured Claims,
323 F.3d 228 (3d Cir. 2003) “repeatedly litigated issues that were decided against it
by earlier court decisions in order to prevent a reorganized debtor from engaging in
a value-enhancing sale transaction,” (ii) the creditor in O’Halloran v. Prudential
Savings Bank (In re Island View Crossing II, L.P.), 604 B.R. 181 (E.D. Penn. 2019)
was alleged to have “intentionally breached lending agreements by making bad faith
demands for documents, which then caused debtor’s construction project to fail,”
and (iii) the creditor in Schubert v. Lucent Tech., Inc. (In re Winstar Commc’ns. Inc.),
554 F.3d 382 (3d Cir. 2009) “abused its contractual authority to use its ‘sole
discretion’ in order to deliberately delay issuing a refinancing notice under the
governing credit agreement to prevent the public disclosure of the debtor’s poor
financial health and thereby inducing other creditors to provide it funds.” A113-14
(Order at 36-37).

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(“[W]hen two independent reasons support a decision, neither can be considered

obiter dictum; each represents a valid holding of the court.”); Fellheimer, Eichen &

Braverman, P.C. v. Charter Techs., Inc., 57 F.3d 1215, 1229 (3d Cir. 1995)

(upholding bankruptcy court’s decision on several, alternative grounds).

      41.    The Bankruptcy Court held that (i) claims predicated on the allegation

that Defendants’ actions “reduced the value of the Zohar Funds give rise to an estate

cause of action that Plaintiffs do not have standing to raise,” and (ii) allegations of

“reputational harm, litigation costs, and harm to Ms. Tilton’s control rights and debt

and equity positions in the Portfolio Companies are not sufficient to justify equitable

subordination as, among other things, the harm does not relate to Plaintiffs’ position

as creditors of the Debtors.” A115-16 (Order at 38-39 n.284). And Appellants’

claim against AMZM is based solely on such alleged harms. See A059 (Compl.

¶ 187) (alleging that AMZM’s “litigious campaign . . . triply damaged Ms. Tilton

and other Plaintiffs because: (1) it decreased the value of the Portfolio Companies,

which decreased the value the Zohar Funds’ preference shares owned by Plaintiffs;

(2) it resulted in the use of the Zohar Funds’ cash to pay millions of dollars in

attorney’s fees and litigation costs, which depleted funds available to pay Plaintiffs

as noteholders and any potential payout to Plaintiffs at the end of the waterfall; and

(3) caused the Plaintiffs to incur tens of millions of dollars in legal fees and expenses

defending against Defendants’ scheme, as well as significant additional expenses.”);



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A070 (id. ¶ 226) (alleging AMZM’s litigation strategy “tarnish[ed] the Portfolio

Companies” which reduced the value of the Debtors); A071 (id. ¶ 227) (alleging

Appellees’ actions “caused Plaintiffs to suffer significant money damages, including

tens of millions of dollars in legal fees, and reputational harms”).11 Accordingly, the

Bankruptcy Court’s decision necessitates dismissal of Appellants’ claim against

AMZM irrespective of the outcome of this appeal.




      11
           See also A058 (Compl. ¶ 185) (alleging Zohar Litigation “made third-party
companies reluctant to conduct business with the Portfolio Companies, caused
Portfolio Companies to lose business opportunities, and damaged the value of
Plaintiffs’ interests in the Portfolio Companies.”); A057 (id. ¶ 183) (alleging that the
RICO Action caused “[t]hird-party companies . . . to sever their ties with her and
various Portfolio Companies” and that “the loss of these critical business
relationships negatively impacted the value of Plaintiffs’ interests in the Portfolio
Companies, severely impaired Ms. Tilton’s ability to turn the companies around, and
substantially decreased the value of Plaintiffs’ Zohar Funds notes and Ms. Tilton’s
preference shares”); A057 (id. ¶ 183) (alleging RICO Action was filed to “smear Ms.
Tilton and the other Plaintiffs, and ultimately destroy her reputation, career, and
business operations” and “subjected Ms. Tilton to sensationalist and misleading
news articles and business harms”); A059 (id. ¶ 187) (alleging the Zohar Litigation
“caused the Plaintiffs to incur tens of millions of dollars in legal fees and expenses
defending against Defendants’ scheme, as well as significant additional expenses”);
A055 (id. ¶ 177) (alleging the Delaware 225 Action was filed to validate the written
consents that “contravened Ms. Tilton’s ultimate and beneficial ownership of the
equity shares”); A052 (id. ¶ 171) (alleging Books and Records Action was filed in
furtherance of an attempt to “to wrest control of the Portfolio Companies from Ms.
Tilton”).

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                                CONCLUSION

      For the foregoing reasons, AMZM respectfully requests that the Court affirm

the Bankruptcy Court’s dismissal with prejudice of the Appellants’ claim against

AMZM.




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Dated: June 15, 2022                MORRIS NICHOLS ARSHT &
      Wilmington, Delaware          TUNNELL LLP

                                    /s/ Tori L. Remington
                                    Robert J. Dehney (No. 3578)
                                    Matthew B. Harvey (No. 5186)
                                    Tori L. Remington (No. 6901)
                                    1201 North Market Street, 16th Floor
                                    Wilmington, DE 19899-1347
                                    rdehney@morrisnichols.com
                                    mharvey@morrisnichols.com
                                    tremington@morrisnichols.com

                                    -and-

                                    QUINN EMANUEL URQUHART &
                                    SULLIVAN, LLP
                                    Jonathan E. Pickhardt, Esq.
                                    Deborah Newman, Esq.
                                    Blair Adams, Esq.
                                    Zachary Russell, Esq.
                                    51 Madison Avenue, 22nd Floor
                                    New York, NY 10010
                                    jonpickhardt@quinnemanuel.com
                                    deborahnewman@quinnemanuel.com
                                    blairadams@quinnemanuel.com
                                    zacharyrussell@quinnemanuel.com

                                    Counsel to Alvarez & Marsal Zohar
                                    Management




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. Bankr. P. 8015(h), the undersigned hereby certifies that

this brief complies with the type-volume limitation of Fed. R. Bankr. P.

8015(a)(7)(A). Exclusive of the exempted portions of the brief specified in Fed. R.

Bankr. P. 8015(g), the brief contains 7,329 words. The brief has been prepared using

Microsoft Word. The undersigned has relied upon the word count feature of this

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Dated: June 15, 2022                         /s/ Tori L. Remington
                                             Tori L. Remington
